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                United States Court of Appeals
                                For the First Circuit
                               ____________________________
 No. 21-1773
 CHICAGO ALLIANCE AGAINST SEXUAL EXPLOITATION; ANNE DOE; JANE DOE, an
  individual by and through her mother and next friend Melissa White; JILL DOE; LISA DOE;
    NANCY DOE; SOBIA DOE; SUSAN DOE; VICTIM RIGHTS LAW CENTER; LEGAL
                          VOICE; EQUAL RIGHTS ADVOCATES,

                                       Plaintiffs - Appellees,

                                                 v.

 MIGUEL ANGEL CARDONA, in his official capacity as Secretary of Education; SUZANNE B.
    GOLDBERG, in her official capacity as Acting Assistant Secretary for Civil Rights; US
                          DEPARTMENT OF EDUCATION,

                                      Defendants - Appellees,

  FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION; INDEPENDENT WOMEN'S
                     LAW CENTER; SPEECH FIRST, INC.,

                                 Interested Parties - Appellants.
                               ____________________________

                                           JUDGMENT

                                   Entered: February 7, 2022
                                  Pursuant to 1st Cir. R. 27.0(d)

        Upon consideration of appellants' unopposed motion, it is hereby ordered that this appeal
 be voluntarily dismissed pursuant to Fed. R. App. P. 42(b).

        Mandate to issue forthwith.


                                              By the Court:

                                              Maria R. Hamilton, Clerk


 cc:
 Trisha Beth Anderson
 Alexa R. Baltes
 Brian W. Barnes
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 Sunu P. Chandy
 Charles J. Cooper
 Linda M. Correia
 Tara Jill Davis
 Carlton Eliot Forbes
 David Hinojosa
 Kathleen T. Hunker
 Lauren A. Khouri
 Donald Campbell Lockhart
 Stephanie Robin Marcus
 Emily Martin
 Jennifer Mascott
 Andrew T. Miltenberg
 Nicole J. Moss
 Gregory Francis Noonan
 Cameron Thomas Norris
 Shiwali G. Patel
 Michael Qian
 Oren McCleary Sellstrom
 Matthew S. Shapanka
 James Reid Sigel
 Patrick N. Strawbridge
 Elizabeth Tang
 Kenneth B. Walton
